                                        Case 3:22-cv-01101-WHA Document 65 Filed 09/08/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   DAWN DANGAARD, KELLY GILBERT,
                                       and JENNIFER ALLBAUGH,
                                  11                                                        No. C 22-01101 WHA
                                                      Plaintiffs,
                                  12
Northern District of California




                                               v.
 United States District Court




                                  13                                                        ORDER ALLOWING
                                       INSTAGRAM, LLC, FACEBOOK                             JURISDICTIONAL DISCOVERY
                                  14   OPERATIONS, LLC, FENIX INTERNET,
                                       LLC, FENIX INTERNATIONAL, LTD.,
                                  15   META PLATFORMS, INC., LEONID
                                       RADVINSKY, and JOHN DOES 1–10.
                                  16
                                                      Defendants.
                                  17

                                  18
                                  19        In this diversity and putative class action, plaintiffs claim defendants remain engaged in
                                  20   unfair competition and tortious interference with contracts and business relationships. Three
                                  21   defendants move to dismiss all claims against them for lack of personal jurisdiction.
                                  22        With respect to personal jurisdiction, plaintiffs may have discovery. Jurisdictional
                                  23   discovery is “generally left to the discretion of the trial court.” Wells Fargo & Co. v. Wells
                                  24   Fargo Exp. Co., 556 F.2d 406, 430 n. 24 (9th Cir. 1977). Here, it may be possible for plaintiffs
                                  25   to establish personal jurisdiction. Until jurisdictional discovery is complete, Fenix defendants’
                                  26   motion to dismiss under FRCP 12(b)(2) is HELD IN ABEYANCE.
                                  27        Plaintiffs may conduct the following jurisdictional discovery until JANUARY 31, 2023:
                                  28   (1) ten reasonably narrow document requests; (2) ten reasonably narrow interrogatories
                                        Case 3:22-cv-01101-WHA Document 65 Filed 09/08/22 Page 2 of 2




                                   1   (no subparts will be allowed); (3) two depositions not to last longer than seven hours each; and

                                   2   (4) no requests for admissions. With the benefit of the supplemental discovery, plaintiffs must

                                   3   then show cause why this action should not be dismissed as to Fenix defendants for lack of

                                   4   personal jurisdiction by FEBRUARY 7, 2023. Fenix defendants shall file an opposition brief by

                                   5   FEBRUARY 14, 2023. Plaintiffs shall file a reply brief by FEBRUARY 21, 2023. The briefs shall

                                   6   be no more than ten pages. A hearing on the supplemental briefing shall be held on

                                   7   MARCH 23, 2023, at 8:00 A.M.

                                   8        In addition, as discussed at the hearing today, both sides may file a brief of up to ten

                                   9   pages discussing whether Section 230 of the Communications Decency Act can immunize a

                                  10   party against allegations of anti-competitive conduct. No declarations or exhibits shall be

                                  11   attached. The briefs are due BY NOON on SEPTEMBER 12, 2022. An order on defendants’

                                  12   remaining motions to dismiss shall issue thereafter.
Northern District of California
 United States District Court




                                  13        IT IS SO ORDERED.

                                  14   Dated: September 8, 2022.

                                  15
                                                                                              WILLIAM ALSUP
                                  16                                                          UNITED STATES DISTRICT JUDGE
                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                       2
